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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
       vs.                                )      Case No. 4:17CR00359 AGF
                                          )
SEAN MCCHORD O’DONNELL,                   )
                                          )
              Defendant.                  )


                                         ORDER

       IT IS HEREBY ORDERED that the sentencing as to defendant Sean McChord

O’Donnell is set for Friday, March 16, 2018 at 2:00 p.m.

       IT IS FURTHER ORDERED that the deadline for filing objections, if any, to the

Presentence Report as to defendant Sean McChord O’Donnell is February 23, 2018.

       IT IS FURTHER ORDERED that no objections shall be filed after the deadline

without leave of the Court. A request for leave to file objections out of time must be in

writing and supported by reasons for the request.

       IT IS FURTHER ORDERED that the parties shall inform the Court, in writing,

and not less than ten (10) days prior to the sentencing date, whether testimony is to be

presented at sentencing and, if so, the anticipated number of witnesses and the estimated

length of such testimony.
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      IT IS FINALLY ORDERED that the parties must file any memoranda no later

than seven (7) days before sentencing date except that a response to a sentencing

memorandum may be filed no later than five (5) days before the sentencing date.




                                             AUDREY G. FLEISSIG
                                             UNITED STATES DISTRICT JUDGE

Dated this 7th day of December, 2017.




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